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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


UNITED STATES OF AMERICA

v.                                               CASE NO. 8:13-cr-108-T-30MAP

GABRIEL JAMES BROWN, JR.


                       FINAL JUDGMENT OF FORFEITURE

       THIS CAUSE comes before the Court upon the filing of the Motion by the United

States for a Final Judgment of Forfeiture (Doc. 76), pursuant to 21 U.S.C. § 853(n)(7) and

Fed. R. Crim. P. 32.2(c)(2) for the Cobra CB, Big Bore Series, .380 caliber handgun (serial

number obliterated) and Winchester .380 caliber ammunition.

       Being fully advised in the premises, the Court finds that on September 19, 2013,

the Court entered a Preliminary Order of Forfeiture, forfeiting to the United States all right,

title, and interest of the defendant in the assets, pursuant to 18 U.S.C. § 924(d)(1) and 28

U.S.C. § 2461(c). Doc. 53.

       The Court further finds that in accordance with the provisions of 21 U.S.C. ' 853(n)

and Fed. R. Crim. P. 32.2(b)(6)(C), the United States published notice of the forfeiture

and of its intent to dispose of the assets on the official government website,

www.forfeiture.gov, from September 26, 2013 through October 25, 2013. Doc. 60. The

publication gave notice to all third parties with a legal interest in the assets to file with the

Office of the Clerk, United States District Court, Middle District of Florida, Sam Gibbons

Federal Courthouse, 2nd Floor, 801 North Florida Avenue, Tampa, Florida 33602, a

petition to adjudicate their interest within sixty (60) days of the first date of publication.
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          The Court further finds that no person, other than the defendant Brown, whose

interest was forfeited to the United States in the Preliminary Order of Forfeiture, is known

to have an interest in the assets. No third party has filed a petition or claimed an interest

in the assets, and the time for filing a petition has expired. Accordingly, it is hereby

          ORDERED, ADJUDGED, and DECREED that for good cause shown, the United

States= motion (Doc. 76) is GRANTED.

          It is FURTHER ORDERED that pursuant to the provisions of 21 U.S.C. ' 853(n)(7)

and Fed. R. Crim. P. 32.2(c)(2), all right, title and interest in the assets is CONDEMNED

and FORFEITED to the United States for disposition according to law.

          Clear title to the assets is now vested in the United States of America.

          DONE and ORDERED in Tampa, Florida, this 28th day of February 2014.




Copies to:
Counsel/Parties of Record
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